Case 2:21-cv-00822-RAJ Document 1-2 Filed 06/17/21 Page 1 of 15




                   EXHIBIT A
             Case 2:21-cv-00822-RAJ Document 1-2 Filed 06/17/21 Page 2 of 15



1
                                                 FILED
2                                       2021 MAY 12 03:30 PM
                                            KING COUNTY
3                                      SUPERIOR COURT CLERK
                                               E-FILED
4                                      CASE #: 21-2-06328-1 SEA
5

6
                     IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
7
                                      FOR KING COUNTY
8

9

10
     CHELSEY BOONE,                                Case No.

11                               PLAINTIFF,
                                                   COMPLAINT
12   v.

13   COLUMBIA DEBT RECOVERY, LLC, a
     Washington limited liability company, and
14   AMERICAN PROPERTY MGMT., INC., a
     Washington profit corporation,
15
                                DEFENDANTS.
16

17

18          COMES NOW the Plaintiff, Chelsey Boone, by and through their attorney, Alyssa P. Au
19
     and Northwest Consumer Law Center, and brings this action against Columbia Debt Recovery,
20
     LLC (“CDR”) for violations of the Fair Debt Collections Practices Act (“FDCPA”) and the
21
     Washington Collection Agency Act (“WCAA”). Plaintiff brings this action against CDR and
22

23   American Property Mgmt., Inc. (“APM”) for violations of the Washington Consumer Protection

24   Act (“WCPA”).
25

26

27

28

                                                                           936 N. 34th St. Ste. 300
     COMPLAINT - 1                                                         Seattle, WA 98103
                                                                           Tele: 206-805-0989
                                                                           Fax: 206-805-1711
              Case 2:21-cv-00822-RAJ Document 1-2 Filed 06/17/21 Page 3 of 15



1                                            I.     PARTIES
2
            1.1      Plaintiff Chelsey Boone (“Ms. Boone”) is an individual residing in Pierce County,
3
     Washington. Ms. Boone is considered a “person” as defined by the WCPA and acted as such at
4
     all times relevant to this Complaint.
5

6           1.2      Defendant CDR is a Washington profit corporation that is engaged in the business

7    of debt collection. According to the Washington State Department of Revenue, CDR’s principal
8
     place of business is in Everett, Snohomish County, Washington. CDR is a “person” as defined by
9
     the WCPA and acted as such at all times relevant to this Complaint.
10
            1.3      Defendant APM is a Washington profit corporation that is engaged in the business
11

12   of property management. Woodland Apartments is owned and operated by APM. According to

13   the Washington State Department of Revenue, APM’s principal place of business is in Bellevue,
14
     King County, Washington. APM is a “person” as defined by the WCPA and acted as such at all
15
     times relevant to this Complaint. Upon information and belief, APM is the owner and operator of
16
     the Woodland Apartments in Olympia, WA.
17

18                               II.       JURISDICTION AND VENUE

19          2.1      Jurisdiction and venue in King County Superior Court is appropriate where some
20
     part of the acts at issue occurred in King County (RCW 4.12.020), and where defendants CDR
21
     and APM transacted business in King County (RCW 4.12.025).
22
                                    III.     STATEMENT OF FACTS
23

24          3.1      On or about December 12, 2016, Ms. Boone was provided a tour of the Woodland

25   Apartments (“Woodland”) in Olympia. When Ms. Boone decided that the apartment suited her
26
     needs and she agreed to become a tenant, Woodland did not conduct a physical inspection with
27
     Ms. Boone reviewing the condition of the apartment. Ms. Boone did not complete or sign a move-
28

                                                                                936 N. 34th St. Ste. 300
     COMPLAINT - 2                                                              Seattle, WA 98103
                                                                                Tele: 206-805-0989
                                                                                Fax: 206-805-1711
              Case 2:21-cv-00822-RAJ Document 1-2 Filed 06/17/21 Page 4 of 15



1    in checklist documenting the condition of the apartment prior to her becoming a tenant of
2
     Woodland.
3
             3.2      On or about December 15, 2016, Ms. Boone, her partner, and her two young
4
     children moved into a Woodland apartment. The monthly rent was $1,195.00. The term of the
5

6    lease was from December 15, 2016 until November, 30, 2017.

7            3.3      While she lived at the apartment, Ms. Boone was a victim of domestic violence by
8
     her partner, who lived with her at the time. The domestic violence had been ongoing since she
9
     moved into the apartment and continued until she decided to move out of the apartment. Her
10
     partner choked her, grabbed her by her hair and clothes, and engaged in infidelity when he brought
11

12   other women to the apartment. The children were never harmed, but Ms. Boone consistently

13   suffered from her partner’s violence and was fearful that it might escalate and involve the children
14
     in the future.
15
             3.4      After a particularly violent incident in June 2017, Ms. Boone decided she had
16
     enough and wanted to move out of the apartment, fearful of her family’s safety. Her partner
17

18   punched holes in the television, broke the coffee table, and pulled her pictures off the walls, broke

19   the frames, and tore the pictures apart. About 2-3 days later, Ms. Boone went into the Woodland
20
     rental office and explained her domestic violence situation to the Woodland employee. Ms. Boone
21
     told Woodland that she could not afford rent on her own and asked if she was able to get out of
22
     the lease before the term was up to find a safer place to live.
23

24           3.5      Ms. Boone and the landlord came to an oral agreement. Woodland said it was okay

25   if she moved out early, so long as she paid the last month’s rent, cleaned out the apartment, and
26
     left the keys in the unit. Woodland said they understood her domestic violence situation and that
27
     she needed to protect her children. Ms. Boone understood that if she complied with the terms of
28

                                                                                   936 N. 34th St. Ste. 300
     COMPLAINT - 3                                                                 Seattle, WA 98103
                                                                                   Tele: 206-805-0989
                                                                                   Fax: 206-805-1711
              Case 2:21-cv-00822-RAJ Document 1-2 Filed 06/17/21 Page 5 of 15



1    the agreement, she would be removed from the lease and could move out of the apartment on
2
     good terms with Woodland.
3
            3.6      On June 14, 2017, Ms. Boone and her children moved out of Woodland.
4
            3.7      Because Ms. Boone believed she had moved out of Woodland on good terms, she
5

6    was surprised when she began receiving emails and phone calls from Woodland after she had

7    moved out. Because she believed Woodland was mistaken, she did not engage in negotiations
8
     with Woodland at that time. In the fall of 2018, Ms. Boone was told that she owed $3,000.00.
9
     Shocked at the large debt amount, Ms. Boone decided to check Credit Karma, a credit reporting
10
     site, which showed a debt of $6,463.00 owed to Genesis Credit Management LLC (“Genesis”),
11

12   opened on October 26, 2017.

13          3.8      After discovering the debt had been sold to Genesis, Ms. Boone began to speak
14
     with Ms. Stephanie, a Genesis employee who called her monthly attempting to collect on the debt.
15
     Ms. Boone believed she was working with Ms. Stephanie on payment terms to get the debt sorted
16
     out, however, she was frustrated by how the amount of the debt changed constantly. Ms. Boone
17

18   believed that each time she spoke with Ms. Stephanie, the amount of the debt changed.

19          3.9      The negative tradeline listed on Ms. Boone’s credit report associated with the
20
     Woodland/Genesis debt caused significant difficulty for Ms. Boone to find housing for herself
21
     and for her children. Even though Ms. Boone had the means to afford rent and sought housing,
22
     she was rejected because the tradeline made her seem like an untrustworthy tenant. Ms. Boone
23

24   was forced to live with other people, including friends and family, and had to move every few

25   months. Ms. Boone and her children had lived with her mother, sister, a friend, and had stayed in
26
     a tent, a garage, in a car, and in a shelter during this time period. This caused instability in her
27

28

                                                                                  936 N. 34th St. Ste. 300
     COMPLAINT - 4                                                                Seattle, WA 98103
                                                                                  Tele: 206-805-0989
                                                                                  Fax: 206-805-1711
             Case 2:21-cv-00822-RAJ Document 1-2 Filed 06/17/21 Page 6 of 15



1    children’s lives, which contributed to Ms. Boone’s emotional distress. Her son had never stayed
2
     an entire year with the same daycare or kindergarten because they were constantly moving.
3
            3.10     Ms. Boone finally decided to seek legal assistance on or about October 30, 2020.
4
     NWCLC began providing legal advice to Ms. Boone around this time and advised her to request
5

6    a debt validation letter from Genesis. On or about December 16, 2020, Ms. Boone mailed via

7    Certified Mail a debt validation letter requesting all documents related to the account from
8
     Genesis. She mailed this letter to the address listed on her Credit Karma report.
9
            3.11     Ms. Boone did not receive a timely response from Genesis.
10
            3.12     On January 23, 2021, Ms. Boone called Genesis and asked if they had received
11

12   her letter. The Genesis representative named Stephanie confirmed that they received the letter on

13   December 23, 2020 and had mailed out a response on December 30, 2020. It was discovered at
14
     this time that Genesis mailed the documents to the wrong address. Ms. Boone provided her current
15
     mailing address and Stephanie agreed to re-send the documents on January 25th.
16
            3.13     Ms. Boone did not receive a timely response from Genesis.
17

18          3.14     On February 8, 2021, Ms. Boone called Genesis asking about the status of the

19   letter. Stephanie claimed that they had not sent the documents yet. Ms. Boone asked that
20
     Stephanie please send the documents to her via mail or by email.
21
            3.15     Genesis finally emailed Ms. Boone the Final Account Statement from Woodland
22
     Apartments later that same day.
23

24          3.16     This was the first time Ms. Boone had ever seen the Final Account Statement from

25   Woodland. The balances listed on the Final Account Statement are as follows:
26
                     3.16.1 Attorney or legal charges, late charges, rent, and utility charges totaling to
27
     $3,265.00.
28

                                                                                   936 N. 34th St. Ste. 300
     COMPLAINT - 5                                                                 Seattle, WA 98103
                                                                                   Tele: 206-805-0989
                                                                                   Fax: 206-805-1711
              Case 2:21-cv-00822-RAJ Document 1-2 Filed 06/17/21 Page 7 of 15



1                    3.16.2 Total deposits on hand totaling to $800.00.
2
                     3.16.3 Additional charges including: apartment cleaning, replacement of cabinet
3
     doors, window screens, light bulbs, stove pans, dryer door, electrical outlet cover, microwave
4
     door, patio blind, and smoke detector batteries, new paint in the apartment, hole repair, concession
5

6    payback, and re-marketing fee, totaling to: $2,406.15.

7                    3.16.4 Total account balance due: $4,871.15
8
            3.17     The Final Account Statement listed the move-out reason as “Skipped during
9
     eviction process.”
10
            3.18     NWCLC decided to offer their legal representation to Ms. Boone shortly after
11

12   receiving the Final Account Statement to assist her with disputing the debt.

13          3.19     As of the date of this filling, the owner of the debt has been changed to Columbia
14
     Debt Recovery (“CDR”).
15
            3.20     Ms. Boone is still unable to find her own housing due to the negative tradeline.
16
     She and her family has been staying with her sister and their family since February of this year.
17

18                        IV.  FIRST CAUSE OF ACTION
          CDR’S VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
19
            4.1      Ms. Boone realleges and incorporates the allegations above herein by reference.
20

21          4.2      Congress enacted the FDCPA in response to “abundant evidence of the use of

22   abusive, deceptive, and unfair debt collection practices by many debt collectors [which]
23
     contribute to the number of personal bankruptcies, to marital instability, to the loss of jobs, and
24
     to invasions of individual privacy.” 15 U.S.C. § 1692(a); Evon v. Law Offices of Sidney Mickell,
25
     688 F.3d 1015, 1024 (9th Cir. 1988).
26

27

28

                                                                                    936 N. 34th St. Ste. 300
     COMPLAINT - 6                                                                  Seattle, WA 98103
                                                                                    Tele: 206-805-0989
                                                                                    Fax: 206-805-1711
              Case 2:21-cv-00822-RAJ Document 1-2 Filed 06/17/21 Page 8 of 15



1           4.3      Under the FDCPA, “A debt collector may not use any false, deceptive, or
2
     misleading representation or means in connection with the collection of any debt.” 15 U.S.C.
3
     §1692e. This includes the following:
4
                     4.3.1   “The false representation of the character, amount, or legal status of any
5

6    debt…” Id. at 1692e(2)(A);

7                    4.3.2   “Communicating or threatening to communicate to any person credit
8
     information which is known or which should be known to be false, including the failure to
9
     communicate that a disputed debt is disputed.” Id. at 1692e(8);
10
                     4.3.3   “The use of any false representation or deceptive means to collect or attempt
11

12   to collect any debt…” Id. at 1692e(10).

13          4.4      The FDCPA broadly prohibits unfair practices by debt collectors: “A debt collector
14
     may not use unfair or unconscionable means to collect or attempt to collect any debt.” 15 U.S.C.
15
     1692f. This includes “The collection of any amount (including any interest, fee, charge, or expense
16
     incidental to the principal obligation) unless such amount is expressly authorized by the
17

18   agreement creating the debt or permitted by law.” Id. at 1692f(1).

19          4.5      The FDCPA requires a debt collector, who within 5 days after initial
20
     communication with the consumer, to provide a written notice containing: the amount of the debt,
21
     the name of the creditor wo whom the debt is owed, the right to dispute within 30 days, the right
22
     to have the verification mailed to the consumer, and that the debt collector will provide the name
23

24   and address of the original creditor if different from the current creditor. The debt collector must

25   also cease collection efforts until the debt is validated. 15 U.S.C. 1692(g).
26
            4.6      CDR is a “debt collector” under the FDCPA and was acting as an agent of APM
27
     in its collection efforts against Ms. Boone.
28

                                                                                     936 N. 34th St. Ste. 300
     COMPLAINT - 7                                                                   Seattle, WA 98103
                                                                                     Tele: 206-805-0989
                                                                                     Fax: 206-805-1711
              Case 2:21-cv-00822-RAJ Document 1-2 Filed 06/17/21 Page 9 of 15



1           4.7      CDR sought the collection of the alleged APM debt by the following methods:
2
                     4.7.1   CDR reported as a tradeline on Ms. Boone’s credit reports that she
3
     allegedly owed $6,463.00. The original creditor is listed as Woodland Apartments.
4
            4.8      CDR’s attempt to collect an amount higher than the original alleged debt of
5

6    $4,871.15, is unfair and deceptive.

7           4.9      Upon information and belief, CDR knew, or should have known, that there were
8
     irregularities with the alleged debt owed because CDR had possession of documents showing Ms.
9
     Boone was being charged for fees that were not authorized by the lease agreement.
10
            4.10     Upon information and belief, CDR is attempting to collect a principal amount that
11

12   includes costs and fees that were not authorized under the lease agreement between Ms. Boone

13   and Woodland Apartments, and therefore violated the FDCPA by attempting to collect an amount
14
     not expressly authorized by the agreement creating the debt or as permitted by law.
15
            4.11     Furthermore, because CDR intentionally attempted to collect a debt, without
16
     verifying if the alleged debt was legally owed and in an effort to collect more than is legally owed
17

18   to the creditor, they violated the FDCPA by attempting to collect on a debt by misrepresenting

19   the amount of the debt.
20
            4.12     The above-described collection conduct by CDR, in its efforts to collect this
21
     alleged debt from Ms. Boone, were oppressive, deceptive, misleading, unfair and illegal
22
     communications in an attempt to collect this alleged debt, all done in violation of numerous and
23

24   multiple provisions of the FDCPA.

25          4.13     On or about December 16, 2020, Ms. Boone mailed via Certified Mail a debt
26
     validation letter requesting all documents related to the account from Genesis Credit Management
27
     (“Genesis”), who at the time was listed as the debt collector for the Woodland Apartment debt.
28

                                                                                  936 N. 34th St. Ste. 300
     COMPLAINT - 8                                                                Seattle, WA 98103
                                                                                  Tele: 206-805-0989
                                                                                  Fax: 206-805-1711
             Case 2:21-cv-00822-RAJ Document 1-2 Filed 06/17/21 Page 10 of 15



1           4.14     Ms. Boone did not receive a timely response from Genesis.
2
            4.15     On January 23, 2021, Ms. Boone called Genesis and asked if they had received
3
     her letter. The Genesis representative named Stephanie confirmed that they received the letter on
4
     December 23, 2020 and had mailed out a response on December 30, 2020. It was discovered at
5

6    this time that Genesis mailed the documents to the wrong address. Ms. Boone provided her current

7    mailing address and Stephanie agreed to re-send the documents there on January 25th.
8
            4.16     Ms. Boone did not receive a timely response from Genesis.
9
            4.17     On February 8, 2021, Ms. Boone called Genesis asking about the status of the
10
     letter. Stephanie claimed that they had not sent the documents yet. Ms. Boone asked that
11

12   Stephanie please send the documents to her via mail or by email.

13          4.18     Genesis finally emailed Ms. Boone the Final Account Statement from Woodland
14
     Apartments later that same day.
15
            4.19     CDR/Genesis violated the FDCPA by failing to provide the required notices under
16
     §1692(g) to Ms. Boone within five days after her initial communication with them on December
17

18   23, 2020. Ms. Boone communicated with CDR/Genesis again on January 23, 2021 and

19   CDR/Genesis failed again to timely respond to Ms. Boone’s request for debt validation
20
     documents.
21
            4.20     When CDR/Genesis finally sent Ms. Boone the documents, it lacked the following
22
     required notices: right to dispute within 30 days (§1692(g)(a)(1)); right to have verification mailed
23

24   to consumer (§1692(g)(a)(4)); and that CDR/Genesis would provide the name and address of the

25   original creditor if different from the current creditor (§1692(g)(a)(5)).
26
            4.21     Furthermore, CDR/Genesis failed to cease collection efforts while the debt was
27
     being validated, as required by the FDCPA. See §1692(g)(b).
28

                                                                                   936 N. 34th St. Ste. 300
     COMPLAINT - 9                                                                 Seattle, WA 98103
                                                                                   Tele: 206-805-0989
                                                                                   Fax: 206-805-1711
             Case 2:21-cv-00822-RAJ Document 1-2 Filed 06/17/21 Page 11 of 15



1           4.22      These collection actions taken by CDR, and the collection employees employed
2
     by CDR, were made in violation of multiple provisions of the FDCPA, including but not limited
3
     to all of the provisions of those laws cited herein.
4
            4.23      These violations by CDR were knowing, willful, negligent and/or intentional, and
5

6    Genesis did not maintain procedures reasonably adapted to avoid any such violations.

7           4.24      CDR’s collection efforts, with respect to this alleged debt, caused Ms. Boone to
8
     suffer concrete and particularized harm because the FDCPA provides Ms. Boone with the legally
9
     protected right to be treated fairly and truthfully with respect to any action for the collection of
10
     any consumer debt.
11

12          4.25      CDR’s deceptive, misleading, and unfair representations with respect to its

13   collection effort were material misrepresentations that affected and frustrated Ms. Boone’s ability
14
     to intelligently respond to CDR’s collection efforts.
15
            4.26      As a result of CDR’s violations of the FDCPA, Ms. Boone is entitled to actual
16
     damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in an amount up to $1,000.00
17

18   pursuant to 15 U.S.C. § 1692k(a)(2)(A); and reasonable attorney’s fees and costs pursuant to 15

19   U.S.C. § 1692k(a)(3).
20
                         V.   SECOND CAUSE OF ACTION
21        CDR’S VIOLATION OF THE WASHINGTON COLLECTION AGENCY ACT

22
            5.1       Ms. Boone realleges and incorporates the allegations above herein by reference.
23

24          5.2       It is a prohibited practice under the WCAA to “Collect or attempt to collect in

25   addition to the principal amount of a claim any sum other than allowable interest, collection costs
26
     or handling fees expressly authorized by statute, and, in the case of suit, attorney’s fees and taxable
27
     court costs.” RCW 19.16.250 (21).
28

                                                                                     936 N. 34th St. Ste. 300
     COMPLAINT - 10                                                                  Seattle, WA 98103
                                                                                     Tele: 206-805-0989
                                                                                     Fax: 206-805-1711
             Case 2:21-cv-00822-RAJ Document 1-2 Filed 06/17/21 Page 12 of 15



1           5.3       Violations of the WCAA are per se violations of the WCPA: “[T]he commission
2
     by a licensee…of an act or practice prohibited by RCW 19.16.250…are declared to be unfair acts
3
     or practices or unfair methods of competition in the conduct of trade or commerce for the purpose
4
     of the application of the consumer protection act found in chapter 19.86 RCW”.
5

6           5.4       If an act or practice in violation of 19.16.250 is committed by a licensee, they may

7    not recover any interest, service charge, attorneys’ fees, collection costs, delinquency charge, or
8
     any other fees or charges otherwise legally chargeable to the debtor. See RCW 19.16.450.
9
            5.5       Genesis is a “licensee” as defined by WCAA. See RCW 19.16.100 (10).
10
            5.6       Genesis sought the collection of the alleged Woodland Apartment debt by the
11

12   following methods:

13                    5.6.1   Genesis reported as a tradeline on Ms. Boone’s credit reports that she
14
     allegedly owed $6,463.00 to Woodland Apartments.
15
            5.7       Genesis’s attempt to collect an amounts higher than the original alleged debt
16
     $4,871.15) is unfair and deceptive.
17

18          5.8       Upon information and belief, Genesis is attempting to collect a principal amount

19   that includes costs and fees that were not authorized in the lease agreement between Ms. Boone
20
     and Woodland Apartments.
21
            5.9       Upon information and belief, Genesis is attempting to collect, in addition to the
22
     principal amount of the alleged claim, a sum other than allowable interest, and collection costs or
23

24   handling fees expressly authorized by statute.

25          5.10      Genesis’s actions are a direct and proximate cause of Ms. Boone’s damages.
26

27

28

                                                                                   936 N. 34th St. Ste. 300
     COMPLAINT - 11                                                                Seattle, WA 98103
                                                                                   Tele: 206-805-0989
                                                                                   Fax: 206-805-1711
             Case 2:21-cv-00822-RAJ Document 1-2 Filed 06/17/21 Page 13 of 15



1           5.11      As a result of Genesis’s violations of the WCAA, Ms. Boone is entitled to actual
2
     damages in an amount to be proven at trial, including but not limited to difficulty in finding
3
     housing, costs of investigation, and costs to bring this lawsuit.
4
            5.12      As a result of Genesis’s violations of the WCAA, they may not recover any
5

6    interest, service charge, attorneys’ fees, collection costs, delinquency charge, or any other fees or

7    charges otherwise legally chargeable to the debtor.
8
                           VI.  THIRD CAUSE OF ACTION
9            CDR AND APM’S VIOLATIONS OF THE WASHINGTION CONSUMER
                                 PROTECTION ACT
10
            6.1       Ms. Boone realleges and incorporates the allegations above herein by reference.
11

12          6.2       Under the WCPA, “Unfair methods of competition and unfair or deceptive acts or

13   practices in the conduct of any trade or commerce are hereby declared unlawful.” RCW
14
     19.86.020.
15
            6.3       Geneis’s conduct occurred within its “trade” and “commerce” within the meaning
16
     of the WCPA, RCW 19.86.010(2), because Genesis is engaged in the business of debt collection,
17

18   and engaged in unfair and deceptive acts in the course of conducting the business of debt

19   collection.
20
            6.4       Where Genesis’s collection attempts are deemed unfair and deceptive acts or
21
     practices in violation of the FDCPA and the WCAA, Genesis’s actions are also unfair and
22
     deceptive acts in violation of the WCPA.
23

24          6.5       Genesis’s unfair and deceptive acts affect the public interest because it has the

25   capacity to injure the public, as Genesis implements similar practices against alleged debtors in
26
     Washington State. Upon information and belief, Genesis has filed hundreds of Complaints against
27
     alleged debtors for amounts not legally owed.
28

                                                                                   936 N. 34th St. Ste. 300
     COMPLAINT - 12                                                                Seattle, WA 98103
                                                                                   Tele: 206-805-0989
                                                                                   Fax: 206-805-1711
               Case 2:21-cv-00822-RAJ Document 1-2 Filed 06/17/21 Page 14 of 15



1              6.6    APM’s conduct occurred within its “trade” and “commerce” within the meaning of
2
     the WCPA, RCW 19.86.010(2), because APM is engaged in the business of renting property, and
3
     engaged in unfair and deceptive acts in the course of conducting the business of renting property.
4
               6.7    APM’s unfair and deceptive acts affect the public interest because it has the
5

6    capacity to injure the public. Upon information and belief, APM is the owner of many rental

7    properties, including but not limited to Woodland, that rents to Washington State residents. Upon
8
     information and belief, it is a pattern and practice of APM to charge amounts inconsistent with
9
     the rental lease, and/or in excess of what is reasonable wear and tear, to former tenants such as
10
     Ms. Boone.
11

12             6.8    As a direct and proximate result of Genesis and APM’s unfair and deceptive acts

13   or practices, Ms. Boone sustained damages including but not limited to difficulty in finding
14
     housing, costs of investigation, and costs to bring this lawsuit.
15
               6.9    Ms. Boone is therefore entitled to an order enjoining the conduct complained of
16
     herein; actual damages; treble damages pursuant to RCW 19.86.090; costs of suit, including
17

18   reasonable attorney’s fee; and such further relief as the Court may deem proper.

19                                    VII.   PRAYER FOR RELIEF
20
               WHEREFORE, having answered Plaintiff’s Complaint, Defendant prays for the following
21
     relief:
22
               1.     Actual damages in an amount to be proven at trial;
23

24             2.     Statutory damages in an amount up to $1,000.00 pursuant to 15 U.S.C.

25   §1692k(a)(2)(A);
26
               3.     Treble damages pursuant to RCW 19.86.090;
27

28

                                                                                 936 N. 34th St. Ste. 300
     COMPLAINT - 13                                                              Seattle, WA 98103
                                                                                 Tele: 206-805-0989
                                                                                 Fax: 206-805-1711
            Case 2:21-cv-00822-RAJ Document 1-2 Filed 06/17/21 Page 15 of 15



1           4.        For costs and disbursements herein, including reasonable attorney’s fees pursuant
2
     to RCW 19.86.090, 15 U.S.C. §1692k, and RCW 59.18.280 (2);
3
            5.        For such other relief as the court deems just and equitable.
4
            Dated this 12th day of May, 2021.
5

6                                                         /s/ Alyssa P. Au
7                                                         Alyssa P. Au, WSBA #52594
                                                          Attorney for Plaintiff Chelsey Boone
8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                                                     936 N. 34th St. Ste. 300
     COMPLAINT - 14                                                                  Seattle, WA 98103
                                                                                     Tele: 206-805-0989
                                                                                     Fax: 206-805-1711
